
916 N.E.2d 549 (2009)
334 Ill.Dec. 134
PEOPLE State of Illinois, respondent,
v.
Carl HEMPHILL, petitioner.
No. 106879.
Supreme Court of Illinois.
November 12, 2009.
Motion by petitioner for leave to file a motion for reconsideration of the order denying petition for leave to appeal. Motion allowed. The motion for reconsideration is allowed. The order denying the petition for leave to appeal is vacated. The petition for leave to appeal is denied. In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Hemphill, case No. 1-06-3481 (06/20/08). The appellate court is directed to reconsider its judgment in light of People v. Hodges, 234 Ill.2d 1, 332 Ill.Dec. 318, 912 N.E.2d 1204 (2009), to determine if a different result is warranted.
Order entered by the Court.
